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September 24,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 773282864172.


Delivery Information:
Status:                       Delivered                  Delivered to:         Shipping/Receiving
Signed for by:                M.WYATT                    Delivery location:    1375 S STATE COLLEGE
                                                                               BLVD
                                                                               ANAHEIM, CA 92806
Service type:                 FedEx Standard Overnight   Delivery date:        Sep 21, 2018 13:43
Special Handling:             Deliver Weekday




Shipping Information:
Tracking number:              773282864172               Ship date:            Sep 20, 2018
                                                         Weight:               0.5 lbs/0.2 kg



Recipient:                                               Shipper:
Melton International Tackle                              Heather C. McFeeley
1375 S. State College Blvd.                              Matthew Weisberg
ANAHEIM, CA 92806 US                                     7 S. Morton Avenue
                                                         Morton, PA 19070 US



Thank you for choosing FedEx.
